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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

In Re: Local TV Advertising Antitrust Litigation, et
al.
                                                       Plaintiff,
v.                                                                     Case No.:
                                                                       1:18−cv−06785
                                                                       Honorable Virginia
                                                                       M. Kendall
Hearst Television Inc., et al.
                                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, July 7, 2023:


        MINUTE entry (Corrected) before the Honorable Virginia M. Kendall. Motion
hearing held on 7/7/2023 via Webex. Parties shall meet and confer and Defendants shall
turn over materials by 7/14/2023. Status hearing set for 7/14/2023 at 9:30 AM which will
proceed via Webex.Prior to the hearing, you are directed to cut and paste this hyper link
into a browser: https://us−courts.webex.com/join/virginia_kendalli lnd.uscourts.gov You
can use the dial in option ONLY if you do not have access to a device with video
capability: (650)−479−3207, the access code is: 180 698 4009. Mailed notice(lk, )




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